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FILED IN DISTRICT COURT
IN THE DISTRICT COURT OF OKLAHOMA COUNT®KLAHOMA COUNTY

STATE OF OKLAHOMA

MAY 1-7 2024

GREENLITE HOLDINGS, LLC and CITY RICK WARREN

HEIGHTS NORTH, LLC, COURT CLERK
i. 112 “~
Plaintiffs, meee,
-2021-2 146
V. Case No:
THIRD COAST INSURANCE
COMPANY, a foreign corporation,
Defendant. JURY TRIAL DEMANDED
PETITION

COME NOW Plaintiffs, Greenlite Holdings, LLC and City Heights North, LLC, to assert
the following claims against Defendant, Third Coast Insurance Company (“TCIC”), based upon
the facts discussed herein.

1. Plaintiffs, Greenlite Holdings, LLC and City Heights North, LLC, are limited
liability companies that owned property located in Oklahoma during all times material to this
case.

2. Defendant, TCIC, is a foreign corporation domiciled in a state other than
Oklahoma with a principal place of business in a state other than Oklahoma.

3. TCIC is authorized to transact insurance business within the State of Oklahoma
and may be served with process through its designated service agent, Glen Mulready, Oklahoma
Insurance Commissioner, 400 NE 50" Street, Oklahoma City, Oklahoma 73105.

4, TCIC conducts insurance business throughout the State of Oklahoma including
within Oklahoma County.

5. The amount in controversy underlying this action exceeds the jurisdictional

amount for diversity jurisdiction under federal law.
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6. This Court has jurisdiction over the above-referenced parties.

7. This Court has jurisdiction over the subject matter in question.

8. Venue is proper in this Court.

9. At all times material hereto, Plaintiffs were insured under a commercial insurance

policy issued by TCIC (No. SZU-S629121).

10. Plaintiffs’ insurance policy was in full force and effect at the time of the covered
loss discussed herein.

11. While Plaintiffs were insured with TCIC, their property known as The Restoration

at Candlewood Apartments located in Oklahoma City sustained damage.

12. The damages sustained by Plaintiffs were covered under their insurance policy
with TCIC.

13. Plaintiffs submitted a claim for such damages to TCIC in a timely manner.

14, Plaintiffs complied with all conditions precedent for recovery under their

insurance policy.

15. TCIC breached the terms of the subject policy and implied covenant of good faith
and fair dealing in its handling of Plaintiffs’ claim, and as a matter of routine claim practice in
handling similar claims by:

a. failing and refusing payment and other policy benefits owed to Plaintiffs
at a time when it knew they were entitled to those benefits;

b. failing to properly or adequately investigate Plaintiffs’ claim and obtain
additional information both in connection with the original refusal and
following the receipt of additional information;

c. withholding payment of benefits owed to Plaintiffs knowing their claim
for benefits was valid;

d. refusing to honor Plaintiffs’ claim in some instances for reasons contrary
to the express provisions of the subject policy and/or Oklahoma law;
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e. refusing to honor Plaintiffs’ claim in some instances by knowingly
misconstruing and misapplying provisions of the subject policy;

f. failing to adopt and implement reasonable standards for the prompt
investigation and reasonable handling of claims arising under these

policies, including Plaintiffs’ claim;

g. not attempting in good faith to effectuate a prompt, fair and equitable
settlement of Plaintiffs’ claim once liability had become reasonably clear;

h. forcing Plaintiffs, pursuant to its standard claims practice, to retain counsel
in order to secure benefits it knew were payable to them;

i. failing to properly evaluate any investigation that was performed;

j. failing and refusing to properly investigate and consider the insurance
coverage promised to Plaintiffs; and/or

k. not attempting in good faith to effectuate a prompt, fair and equitable
settlement of Plaintiffs’ claim once liability had become reasonably clear;

all in violation of the subject policy and implied covenant of good faith and fair dealing, thereby
resulting in financial benefit to TCIC.

16. As a direct and proximate result of TCIC’s unlawful acts and omissions, Plaintiffs
suffered the loss of the policy benefits, loss of coverage and/or other consequential damages.

17. TCIC’s acts and omissions toward Plaintiffs constitute reckless disregard of their
rights and/or intentional (with malice) violations of its duty to deal fairly and in good faith with
its insureds. Therefore, Oklahoma law mandates an award of punitive damages in Plaintiffs’
favor.

WHEREFORE, Plaintiffs, Greenlite Holdings, LLC and City Heights North, LLC,
respectfully demand judgment against Defendant, Third Coast Insurance Company, for
compensatory and punitive damages, plus any interest, costs, attorney fees and other relief

allowed by law.
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JURY TRIAL DEMANDED
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